Case 5:21-cv-11532-JEL-APP ECF No. 63, PageID.1855 Filed 02/03/22 Page 1 of 2




                UNITED STATES DISTRICT COURT
                EASTERN DISTRICT OF MICHIGAN
                     SOUTHERN DIVISION


Rita C. Simpson-Vlach, et al.,

                        Plaintiffs,     Case No. 21-cv-11532

v.                                      Judith E. Levy
                                        United States District Judge
Michigan Department of
Education, et al.,                      Mag. Judge Anthony P. Patti

                        Defendants.

________________________________/

           ORDER DENYING PLAINTIFFS’ MOTION
         FOR A TEMPORARY RESTRAINING ORDER [52]

     This case is before the Court on the motion for a temporary

restraining order filed by Plaintiffs Rita C. Simpson-Vlach, Alan

Simpson-Vlach, Kathy Bishop, and Christopher Place. (ECF No. 52.) On

January 27, 2022, a hearing was held by video conference and oral

argument was heard. Plaintiffs’ motion is DENIED for the reasons set

forth on the record, including but not limited to the fact that Plaintiffs’

counsel indicated during the hearing that the relief sought in the motion

is identical to the relief sought in the complaint filed in this case.

     IT IS SO ORDERED.
Case 5:21-cv-11532-JEL-APP ECF No. 63, PageID.1856 Filed 02/03/22 Page 2 of 2




Dated: February 3, 2022                  s/Judith E. Levy
Ann Arbor, Michigan                      JUDITH E. LEVY
                                         United States District Judge


                     CERTIFICATE OF SERVICE
      The undersigned certifies that the foregoing document was served
upon counsel of record and any unrepresented parties via the Court s
ECF System to their respective email or first-class U.S. mail addresses
disclosed on the Notice of Electronic Filing on February 3, 2022.


                                         s/William Barkholz
                                         WILLIAM BARKHOLZ
                                         Case Manager




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